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17                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
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19    GAVIN NEWSOM, in his official capacity        Case No.               3: 25-cv-04870-CRB
      as Governor of the State of California;
20    STATE OF CALIFORNIA,                          [PROPOSED] ORDER GRANTING
                                                    ADMINISTRATIVE MOTION FOR
21                         Plaintiffs,
                                                    LEAVE TO FILE BRIEF OF AMICUS
22           V.                                     CURIAE THE CITY OF LOS ANGELES IN
                                                    SUPPORT OF PLAINTIFFS
23    DONALD TRUMP, in his official capacity        PRELIMINARY INJUNCTION
      as President of the United States; PETE
24    HEGSETH, in his official capacity as
      Secretary of the Department of Defense;
25    DEPARTMENT OF DEFENSE,                        Date: 06/19/2025
                                                    Time: 10:00 a.m.
26                      Defendants.                 Place Courtroom 6-17Fr.
                                                    Judge: Charles R. Breyer
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 1                                       [PROPOSED]ORDER
 2          On June 16, 2025, the City of Los Angeles filed a Motion for Leave to File a

 3   Supplemental Brief of City of Los Angeles as Amicus Curiae In Support of Plaintiff's Motion for

 4   Preliminary Injunction. Having considered the papers and pleadings on file, the Court hereby

 5   GRANTS the Motion and ORDERS that the Amicus Brief be filed. The Supplemental Brief of

 6   Amicus Curiae the City of Los Angeles in Support of Plaintiffs attached to the motion filed on the

 7   docket, is hereby deemed as filed as the Brief of Amicus Curiae the City of Los Angeles.

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 9          IT IS SO ORDERED.


11   DATED: June 17, 2025
                                                     Honorable Charles R. Breyer
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                                                     United States District Judge
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